Case 17-35762-KLP            Doc 16 Filed 01/25/18 Entered 01/26/18 00:34:16                        Desc Imaged
                                  Certificate of Notice Page 1 of 4
                                     United States Bankruptcy Court
                                           Eastern District of Virginia
                                               Richmond Division
                                              701 East Broad Street
                                              Richmond, VA 23219



                                                            Case Number 17−35762−KLP
                                                            Chapter 13

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Gregory Ridell Jeffery Sr.
   207 Knightsmanor Court
   Richmond, VA 23227

Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−5793

Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA



                                      NOTICE OF DISMISSAL OF CASE

Notice is hereby given that an order was entered on January 23, 2018 dismissing the above−captioned case.




Dated: January 23, 2018                                     For the Court,

                                                            William C. Redden, Clerk
[VAN015vDec2009.jsp]                                        United States Bankruptcy Court
     Case 17-35762-KLP          Doc 16 Filed 01/25/18 Entered 01/26/18 00:34:16                 Desc Imaged
                                     Certificate of Notice Page 2 of 4
                                       United States Bankruptcy Court
                                       Eastern District of Virginia
In re:                                                                                  Case No. 17-35762-KLP
Gregory Ridell Jeffery, Sr.                                                             Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0422-7           User: baumgartn              Page 1 of 3                   Date Rcvd: Jan 23, 2018
                               Form ID: VAN015              Total Noticed: 96


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 25, 2018.
db             +Gregory Ridell Jeffery, Sr.,     207 Knightsmanor Court,     Richmond, VA 23227-3109
14140023       +ADT Security Services,     14200 E. Exposition Ave.,     Aurora, CO 80012-2540
14140024       +Aetna,    PO 30484,    Tampa, FL 33630-3484
14140026        BCC Financial Management Svc,      P.O. Box 590097,    Fort Lauderdale, FL 33359-0097
14140027       +Bon Secours,    P.O. Box 28538,     Henrico, VA 23228-8538
14140028       +Bon Secours St. Mary’s Hospita,      c/o Greer P Jackson,    8550 Mayland Dr.,
                 Henrico, VA 23294-4754
14140029        Bremac Inc,    8113 Mechanicsville Bypass,     Mechanicsville, VA 23111-0000
14148111       +Bremac, Inc.,    c/o Edward S. Whitlock, III, Esq.,      Lafayette, Ayers & Whitlock, PLC,
                 10160 Staples Mill Road, Suite 105,      Glen Allen, VA 23060-3447
14140030       +Brothers Rent To Own,     500 E. Laburnum Ave.,     Richmond, VA 23222-2123
14140033       +CCi,   2600 Wrightsboro Rd.,     Augusta, GA 30904-5343
14140032       +Caroline County Circuit Court,      P.O. Box 511,    Bowling Green, VA 22427-0511
14140034       +Central Credit Svcs,     PO 15118,    Jacksonville, FL 32239-5118
14140035       +Central Furniture,     3700 Mechanicsville Tpk,     Richmond, VA 23223-1332
14140038       +Colonial Fuel Oil Corp,     5279 Mechsanicsville Tnpk,     Mechanicsville, VA 23111-6454
14140040       +Commonwealth of Virginia,     703 E. Main St.,     Richmond, VA 23219-3315
14140044       +County of Henrico,     Dept of Finance (PP tax),     P.O. Box 90776,    Henrico, VA 23273-0001
14140043       +County of Henrico,     Dept of Public Utilities,     PO Box 09775,    Richmond, VA 23228-0775
14140046       +DCSE- Bankruptcy Unit,     2127 Lakeside Drive,     Lynchburg, VA 24501-6803
14140045       +Dankos Gordon & Whitlock, P.C.,      ATTN: Edward S. Whitlock, III,
                 1360 East Parham Rd, Suite 200,      Richmond, VA 23228-2366
14140048       +Department of Motor Vehicles,      P.O. Box 27412,    Richmond, VA 23269-7412
14140049       +Department of Social Services,      12304 Washington Hghwy,    Ashland, VA 23005-7646
14140051       +Donald W. Coleman CPA,     11539 Nuckols Rd. A,     Glen Allen, VA 23059-5669
14140052       +Eastern Account System,     75 Glen Rd Ste 110,     Sandy Hook, CT 06482-1175
14140054       +Elizabeth Gunn, Esquire,     Office of Attorney General/BK,     2001 Maywill St., Ste. 200,
                 Richmond, VA 23230-3236
14140058       +Fast Auto Loans, Inc,     1206 Azalea Ave.,    Richmond, VA 23227-3413
14140060       +GC Services Limited Part,     P.O. Box 3026,    6330 Gulfton,    Houston, TX 77081-1108
14140061      ++HANOVER COUNTY VIRGINIA,     HANOVER COUNTY ATTORNEYS OFFICE,      PO BOX 470,
                 HANOVER VA 23069-0470
               (address filed with court: Hanover County Circuit Court,        P.O. Box 470,
                 Hanover, VA 23069-0000)
14140062       +Hanover County GDC,     P.O. Box 176,    Hanover, VA 23069-0176
14140063       +Hanover County Treasurer,     PO Box 200,    Hanover, VA 23069-0200
14140064       +Henrico Area Mental Health &,      Developmental Services,    10299 Woodman Road,
                 Glen Allen, VA 23060-4419
14140065       +Henrico County Circuit Court,      P.O. Box 90775,    Henrico, VA 23273-0775
14140066       +Henrico County Credit Union,     8611 Dixon Powers Drive,     Richmond, VA 23228-2758
14148108       +Henrico Federal Credit Union,      c/o Edward S. Whitlock, III, Esq.,
                 Lafayette, Ayers & Whitlock, PLC,      10160 Staples Mill Road, Suite 105,
                 Glen Allen, VA 23060-3447
14140070       +Joyner Fine Properties,     2727 Enterprise Pkwy,     Henrico, VA 23294-6341
14140071       +Lafayette Ayers & Whitlock PLC,      ATTN: E.S. Whitlock,III,    10160 Staples Mill Rd., #105,
                 Glen Allen, VA 23060-3447
14159654        MCV Associated Physicians,     P O Box 91747,     Richmond, VA 23291-1747
14140073        MCV Hospitals,    P.O. Box 980462,     Richmond, VA 23298-0462
14140074       +MCV Physicians of the VCU Heal,      1605 Rhoadmiller St.,    Richmond, VA 23220-1106
14140072       +Massy Wood and West,     1713 Westwood Ave.,    Richmond, VA 23227-4336
14140076        Memorial Regional Med Ctr,     P.O. Box 28538,     Richmond, VA 23228-8538
14147249        Navient Solutions, LLC on behalf of USA Funds,       Attn: Bankruptcy Litigation Unit E3149,
                 PO Box 9430,    Wilkes Barre, PA 18773-9430
14140079        New Bell Trucking,     13010 N. Enon Church Rd.,     Chester, VA 23836-0000
14191514       +Niamtu, Alexander, Keeney, Harris, Metzger & Dymon,       c/o Sharon N. Horner & Associates, PLC,
                 6804 Patterson Avenue Suite A,      Richmond, VA 23226-3429
14140080        Niamtu,Alexander,Keeney,Harris,      118545-A Nuckols Rd,    Glen Allen, VA 23059-0000
14140081       +One Hampton Medical,     8400 Meadowbridge Road,     Mechanicsville, VA 23116-1504
14140082       +Orkin Pest Control,     10101 Leadbetter Pl.,     Ashland, VA 23005-3451
14140088       +PMAB LLC,    5970 Fairview Rd. #800,     Charlotte, NC 28210-0091
14140083       +Parish & LeBar,     5 E Franklin St,    Richmond, VA 23219-2105
14140086       +Penn Credit Corp.,     916 S. 14th St.,    Harrisburg, PA 17104-3425
14140085        Penn Credit Corp.,     P.O. Box 988,    Harrisburg, PA 17108-0988
14140089       +Pmab Srvc,    4135 S. Stream Blvd. Ste. 4,     Charlotte, NC 28217-4523
14140090       +Ramakrisnan Y Nagaraj,     c/o Michael Champlin,     1919 Huguenot Rd.,    Richmond, VA 23235-4321
14140092       +Richmond General District Crt.,      400 N. 9th Street, Room 209,     Richmond, VA 23219-1540
14140093       +Sil Insurance Agency,     5310 Markel Rd. $203,     Richmond, VA 23230-3030
14140097       +Sunrise Credit Service,     234 Airport Plaza Blvd S,     Farmingdale, NY 11735-3938
14140100        Tiffany Lightfoot,     5113 Timbercreek,    Chesterfield, VA
14140101       +Transworld Systems,     P.O. Box 17221,    Wilmington, DE 19850-7221
14140102       +Trident Asset Manageme,     53 Perimeter Center East,     Atlanta, GA 30346-2287
14140104       +U S Dept. of ED/GSL/ATL,     2505 S Finley Rd.,     Lombard, IL 60148-4867
14140543       +U.S. Attorney,    SunTrust Building,     919 East Main Street, Suite 1900,
                 Richmond, VA 23219-4622
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14140105       +United Consumers,    14205 Telegraph Rd,    Woodbridge, VA 22192-4615
14140106       +Untd Consume,    14205 Telegraph Rd,    Woodbridge, VA 22192-4615
14140107       +Usa Funds/navient,    Po Box 6180,    Indianapolis, IN 46206-6180
14140108       +Village Bank,    P.O. Box 330,    Midlothian, VA 23113-0330
14140109        Virginia Employment Comm.,     P.O. Box 26971,   Richmond, VA 23261-6971
14140112       +William Beasley,    7458 Atlee Rd.,    Mechanicsville, VA 23111-1736
14140114       +Woodfin Heating and Cooling,     P.O. Box 277,   Mechanicsville, VA 23111-0277

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
14140025       +EDI: ALLIANCEONE.COM Jan 24 2018 02:43:00        Allianceone,    1684 Woodlands Dr. #15,
                 Maumee, OH 43537-4093
14140031        E-mail/Text: specialassets@cffc.com Jan 24 2018 02:54:36         C & F Bank,    P.O. Box 391,
                 West Point, VA 23181-0000
14140036       +E-mail/Text: heatherg@checkcity.com Jan 24 2018 02:53:11         Check City,
                 2729-B West Broad Street,     Richmond, VA 23220-1905
14140037       +E-mail/PDF: BANKRUPTCY.NOTICES@RICHMONDGOV.COM Jan 24 2018 02:55:08          City of Richmond,
                 Attn: City Hall,    900 E. Broad St, Room 100,     Richmond, VA 23219-1907
14151585       +E-mail/PDF: BANKRUPTCY.NOTICES@RICHMONDGOV.COM Jan 24 2018 02:54:57
                 City of Richmond, Dept. of Public Utilities,      730 E. Broad Street, 5th Floor,
                 Richmond, VA 23219-1861
14140041        E-mail/Text: crbankruptcy@commrad.com Jan 24 2018 02:53:58         Commonwealth Radiology,
                 1508 Willow Lawn Dr Ste 117,     Richmond, VA 23230-3421
14200780       +E-mail/Text: bankruptcy@dss.virginia.gov Jan 24 2018 02:53:29         Commonwealth of VA,
                 Office of the Attorney General,     DCSE - Bankruptcy Unit,     2001 Maywill St. Ste. 200,
                 Richmond, VA 23230-3236
14140042       +E-mail/Text: compliance@contractcallers.com Jan 24 2018 02:54:32         Contract Callers Inc,
                 501 Greene St Ste 302,    Augusta, GA 30901-4415
14140050        EDI: DIRECTV.COM Jan 24 2018 02:43:00       DIRECTV,    P.O. Box 78626,    Phoenix, AZ 85062-0000
14140542        EDI: IRS.COM Jan 24 2018 02:43:00       Department of the Treasury-IRS,
                 Internal Revenue Service,     PO Box 7346,    Philadelphia, PA 19101-7346
14140055        E-mail/Text: collections@encirclepayments.com Jan 24 2018 02:54:25         Encircle Collections I,
                 1691 Nw 107th Ave,    Doral, FL 33172-0000
14140053        EDI: ECMC.COM Jan 24 2018 02:43:00       Ecmc,    111 Washington Ave,    Minneapolis, MN 55401-0000
14140056       +E-mail/Text: bknotice@erccollections.com Jan 24 2018 02:53:42         Enhanced Recovery Co L,
                 8014 Bayberry Rd,    Jacksonville, FL 32256-7412
14140059       +EDI: AMINFOFP.COM Jan 24 2018 02:43:00       First Premier Bank,     601 S Minnesota Ave,
                 Sioux Falls, SD 57104-4868
14140067       +E-mail/Text: bankruptcy@co.henrico.va.us Jan 24 2018 02:53:59
                 Henrico County Public Utilitie,     4301 E. Parham Road,     Henrico, VA 23228-2745
14140068       +EDI: IIC9.COM Jan 24 2018 02:43:00       I.C. Systems Inc.,     444 Highway 96 East,
                 P.O. Box 64887,    Saint Paul, MN 55164-0887
14140077       +EDI: MID8.COM Jan 24 2018 02:43:00       Midland Credit Mgmt,     8875 Aero Dr.,
                 San Diego, CA 92123-2255
14140078       +EDI: NAVIENTFKASMSERV.COM Jan 24 2018 02:43:00        Navient Solutions Inc,     11100 Usa Pkwy,
                 Fishers, IN 46037-9203
14140087       +EDI: RESURGENT.COM Jan 24 2018 02:43:00        Pinnacle Credit Services,     P.O. Box 640,
                 Hopkins, MN 55343-0640
14140091       +E-mail/Text: colleen.atkinson@rmscollect.com Jan 24 2018 02:54:26         Receivable Management,
                 7206 Hull Street Rd Ste,    Richmond, VA 23235-5826
14140094       +EDI: NAVIENTFKASMSERV.COM Jan 24 2018 02:43:00        Slm Financial Corp,     11100 USA Pkwy,
                 Fishers, IN 46037-9203
14140098       +EDI: STF1.COM Jan 24 2018 02:43:00       Suntrust Bank,    PO Box 185024,
                 Richmond, VA 23286-0001
14140099       +EDI: SWCR.COM Jan 24 2018 02:43:00       Sw Crdt Sys,    4120 International Parkway,
                 Carrollton, TX 75007-1958
14153893       +EDI: AIS.COM Jan 24 2018 02:43:00       T Mobile/T-Mobile USA Inc,
                 by American InfoSource LP as agent,     4515 N Santa Fe Ave,     Oklahoma City, OK 73118-7901
14140103       +E-mail/Text: crwkflw@firstdata.com Jan 24 2018 02:54:03         TRS Recovery System,
                 P.O. Box 173809,    Denver, CO 80217-3809
14140039        E-mail/Text: bkr@taxva.com Jan 24 2018 02:54:10        Commonwealth of Virginia,
                 Dept of Taxation,    PO 2369,    Richmond, VA 23218-0000
14140111        EDI: WFFC.COM Jan 24 2018 02:43:00       Wells Fargo Bank,     P.O. Box 4044,
                 Concord, CA 94524-4044
14140113       +E-mail/Text: ebn@wfcorp.com Jan 24 2018 02:54:28        Williams and Fudge,     300 Chathan Ave.,
                 P.O. Box 11590,    Rock Hill, SC 29731-1590
14140115       +E-mail/Text: ebankruptcy@woodforest.com Jan 24 2018 02:53:55         Woodforest National Bank,
                 25231 Grogans Mill Rd.,    Spring, TX 77380-3103
                                                                                                 TOTAL: 29

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14140075         Melvin Richardson,   NEED ADDRESS
14140095         Stacey Diane Neel,   Need Address
14140110         Wayne B Lewis,   Need Address
14140069*      ++INTERNAL REVENUE SERVICE,   CENTRALIZED INSOLVENCY OPERATIONS,   PO BOX 7346,
                  PHILADELPHIA PA 19101-7346
                (address filed with court: IRS,    Dept of Treasury,   Kansas City, MO 64999-0030)
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14140047        ##+Debt Recovery Solutions,    PO Box 9001,   Westbury, NY 11590-9001
14140057        ##+Equinox,   P.O. Box 455,    Park Ridge, IL 60068-0455
14140084        ##+Payliance,   3 Easton Oval #210,    Columbus, OH 43219-6011
14140096        ##+Stellar Recovery Inc,    4500 Salisbury Rd. #10,   Jacksonville, FL 32216-8035
                                                                                                TOTALS: 3, * 1, ## 4

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 25, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 23, 2018 at the address(es) listed below:
              Carl M. Bates   station01@richchap13.com,
               station10@richchap13.com;station03@richchap13.com;station07@richchap13.com;station06@richchap13.c
               om
              Judy A. Robbins   USTPRegion04.RH.ECF@usdoj.gov
              Rudolph C. McCollum, Jr.   on behalf of Debtor Gregory Ridell Jeffery, Sr. rudy@mccollumatlaw.com,
               mccollumatlaw301@gmail.com;rudy@ecf.courtdrive.com;r46348@notify.bestcase.com
                                                                                             TOTAL: 3
